              Case 23-50437-JTD   Doc 36   Filed 11/08/23   Page 1 of 15




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                        Chapter 11


FTX TRADING LTD., et al.,                     Case No. 22-11068 (JTD)

         Debtors.
                                              (Jointly Administered)




FTX TRADING LTD. and MACLAURIN
INVESTMENTS LTD.,
                                              Adv. Pro. No. 23-50437 (JTD)
Plaintiffs,

                     -against-

LOREM IPSUM UG, PATRICK GRUHN,
ROBIN MATZKE, and BRANDON
WILLIAMS,

Defendants.


                           APPENDIX IN SUPPORT OF MOTION
                    FOR A PROTECTIVE ORDER STAYING DISCOVERY




                                            Lawrence J. Gebhardt (pro hac vice)
                                            Gregory L. Arbogast (No. 6255)
                                            GEBHARDT & SMITH LLP
                                            1000 N. West Street, Suite 1200
                                            Wilmington, DE 19801
                                            T: (302) 295-5038
                                            F: (443) 957-4325
                                            Garbogast@gebsmith.com

                                            Attorneys for Defendant,
                                            Brandon Williams
                   Case 23-50437-JTD                  Doc 36          Filed 11/08/23          Page 2 of 15




                                                     Table of Contents


Case Management Plan and Scheduling Order .....................................................................A.0001


Initial Disclosures filed by Plaintiff ....................................................................................... A.0005


Initial Disclosures filed by Lorem Ipsum UG, Patrick Gruhn, and Robin Matzke .............. A.0019


Initial Disclosures filed by Brandon Williams .......................................................................A.0027


Debtors’ First Request for Production of Documents to Defendant Patrick Gruhn............... A.0041


Debtors’ First Request for Production of Documents to Defendants Robin Matzke
and Lorem Ipsum UG ...........................................................................................................A.0060

Debtors’ First Request for Production of Documents to Defendant Brandon Williams ........A.0079

First Set of Interrogatories by Defendant Lorem Ipsum UG to Plaintiffs ............................. A.0097

First Set of Document Requests by Defendants Lorem Ipsum UG, Patrick Gruhn
and Robin Matzke to Plaintiffs ............................................................................................. A.0109

First Set of Requests for Admission by Defendants Lorem Ipsum UG, Patrick
Gruhn and Robin Matzke to Plaintiffs .................................................................................. A.0135

First Set of Document Requests by Defendants Lorem Ipsum UG, Patrick Gruhn
and Robin Matzke to Defendant Brandon Williams ............................................................. A.0226




                                                                  i
                     Case
                      Case23-50437-JTD
                           23-50437-JTD Doc
                                         Doc36
                                             9                  Filed 11/08/23
                                                                      08/23/23         Page 3
                                                                                            1 of 15
                                                                                                 4




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                                           Chapter 11

    FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

              Debtors.                                               (Jointly Administered)



    FTX TRADING LTD. and MACLAURIN
    INVESTMENTS LTD.,

                                          Plaintiffs,

                              -against-                              Adv. Pro. No. 23-50437 (JTD)
    LOREM IPSUM UG, PATRICK GRUHN,
    ROBIN MATZKE, and BRANDON
    WILLIAMS,

                                          Defendants.


                      CASE MANAGEMENT PLAN AND SCHEDULING ORDER

1.           This Case Management Plan and Scheduling Order (this “CMO”), by and among the
             above-captioned Plaintiffs and the Defendants (defined below, and with Plaintiffs,
             collectively “Parties” and each a “Party”), shall apply in the above-captioned adversary
             proceeding (“Action”). The following terms shall mean:

             a.       “Complaint” means the Complaint [Adv. Pro. No. 1] filed in the
                      Action on July 12, 2023;

             b.       “Defendants” means the defendants set out in the caption of the
                      Action;




1
             The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288
             and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list
             of the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
             complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent
             at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies
             Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.




                                                                                                                             A.0001
             Case
              Case23-50437-JTD
                   23-50437-JTD Doc
                                 Doc36
                                     9                Filed 11/08/23
                                                            08/23/23   Page 4
                                                                            2 of 15
                                                                                 4




2.   Service. All Defendants have waived or accepted service of process, including waiver of
     service pursuant to the Hague Convention for applicable Defendants. Defendants shall
     have until October 27, 2023 to answer, move against, or otherwise respond to the
     Complaint. Except for defenses relating to service of process or sufficiency of process only,
     Defendants reserve all rights, claims, counterclaims, and defenses, including defenses
     relating to jurisdiction and the extraterritorial application of certain laws.

3.   Motions to Dismiss. The schedule for the briefing of any motions to dismiss shall be as
     follows:

     a.       Moving briefs due October 27, 2023;
     b.       Oppositions due December 1, 2023; and
     c.       Replies due January 5, 2024.

4.   Discovery. The following discovery and pretrial schedule shall apply absent further
     agreement of the Parties or order of the Bankruptcy Court.

     a.       Initial Disclosures. Each Party shall serve its initial disclosures required by
              Rule 26(a)(1) of the Federal Rules of Civil Procedure (“Rule”) as
              incorporated in this Action by Rule 7026 of the Federal Rules of Bankruptcy
              Procedure (“Bankruptcy Rule”) no later than September 27, 2023.

     b.       Fact Discovery.

            i.       The Parties may serve on non-parties to the Action subpoenas for
                     documents pursuant to Rule 45 (Bankruptcy Rule 9016) on or after
                     September 19, 2023. The Parties agree that the Party or attorney who
                     issues the non-party-subpoena shall, within three days of receipt of
                     materials from the non-party respondent, produce the materials it
                     received to all other Parties in the Action in the form in which the
                     materials were received by the Party.
          ii.        The Parties may serve on the other Parties in the Action document
                     requests pursuant to Rule 34 (Bankruptcy Rule 7034),
                     interrogatories pursuant to Rule 33 (Bankruptcy Rule 7033),
                     requests for admissions pursuant to Rule 36 (Bankruptcy
                     Rule 7036), and other requests for written discovery on or after
                     October 13, 2023.
          iii.       The Parties will substantially complete their production of
                     documents in response to the first set of document requests served
                     by each Party on or before January 31, 2024 (it being understood
                     that Parties will produce responsive materials on a rolling basis in
                     advance of such date). The schedule for production of documents in
                     response to all later-served document requests shall be as provided
                     for in the Bankruptcy Rules.




                                                -2-
                                                                                                     A.0002
             Case
              Case23-50437-JTD
                   23-50437-JTD Doc
                                 Doc36
                                     9                 Filed 11/08/23
                                                             08/23/23    Page 5
                                                                              3 of 15
                                                                                   4




          iv.          The parties will provide logs of documents withheld or redacted on
                       privilege grounds by February 16, 2024.
           v.          Deposition notices will be served no less than 14 calendar days prior
                       to the requested deposition date.
          vi.          Fact discovery will be completed by May 17, 2024.

     c.      Expert Discovery.

            i.         One or more Parties presently anticipate that they may offer expert
                       testimony on value and valuation, foreign law, European regulatory
                       schemes, market conditions, and solvency and insolvency. Each
                       Party will disclose the topics for any additional expert testimony no
                       later than May 17, 2024. If a Party fails to timely identify an
                       additional topic for expert testimony, the other Parties will have an
                       additional 14 calendar days added to the deadline for their response,
                       and the deadline for any reply or other responsive report or pleading
                       correspondingly will also be extended by 14 calendar days.
          ii.          Plaintiffs’ initial expert reports will be served by June 5, 2024.
          iii.         Defendants’ expert reports—including rebuttal reports in response
                       to Plaintiffs’ initial expert reports and expert reports on a subject not
                       addressed in Plaintiffs’ initial expert reports—will be served by
                       July 19, 2024.
          iv.          In the event that Defendants’ expert reports address a subject not
                       addressed in Plaintiffs’ initial expert reports, Plaintiffs may serve a
                       rebuttal expert report in response thereto by August 23, 2024.
           v.          All expert reports must satisfy the requirements of Bankruptcy Rule
                       7026.
          vi.          Expert depositions will be completed by October 2, 2024.

5.   Summary Judgment Motions.

     a.         In the event that any Party chooses to file a motion for summary judgment,
                such motion will be filed no later than October 16, 2024;
     b.         Oppositions to motions for summary judgment will be due no later than 28
                calendar days from the filing of the opening motion for summary
                judgement; and
     c.         Replies in support of summary judgment will be due no later than 28
                calendar days from the filing of the opposition to the motion for summary
                judgement.

     d.         Notwithstanding anything in Section 5 of this CMO, in the event that any
                Defendant chooses to file a motion for summary judgment as its response




                                                 -3-
                                                                                                   A.0003
           Case
            Case23-50437-JTD
                 23-50437-JTD Doc
                               Doc36
                                   9               Filed 11/08/23
                                                         08/23/23   Page 6
                                                                         4 of 15
                                                                              4




            to the Complaint in this Action, the briefing schedule for such motion shall
            be as provided for in Section 3 above.

6.   Mediation. The Parties will meet and confer regarding appointment of a mediator. On or
     before January 24, 2024, the Parties shall file a stipulation regarding appointment of
     mediator. If the Parties fail to file a stipulation on this matter by January 24, 2024, the
     Parties will request a status conference with the Bankruptcy Court to resolve the dispute
     concerning the appointment of a mediator. Should the Parties agree on a mediator or the
     Bankruptcy Court orders a mediator, the Parties then will meet and confer concerning
     procedures for the mediation. Unless otherwise agreed by the Parties, the mediation shall
     be governed by Local Rule 9019-5. Local Rule 9019-5(j) will not apply to the mediation
     in the Action.

7.   Jurisdiction. Nothing in this CMO shall be deemed a waiver of any Defendant’s rights
     under Local Rule 9013-1(f) or other jurisdictional objections or objections to the
     extraterritorial application of certain law.

8.   Modification. The Parties may modify any provision of this CMO by written agreement
     or, absent such agreement, by seeking an order of the Bankruptcy Court upon good cause
     shown.




     Dated: August 23rd, 2023                           JOHN T. DORSEY
     Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE




                                             -4-
                                                                                                   A.0004
                Case 23-50437-JTD         Doc 36     Filed 11/08/23      Page 7 of 15




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:

 FTX TRADING LTD., et al.,                               Chapter 11

 Debtors.                                                Case No. 22-11068 (JTD)

 _________________________________________ (Jointly Administered)
 FTX TRADING LTD. and MACLAURIN
 INVESTMENTS LTD.,
                             Plaintiffs.

                           v.                            Adv. Pro. No. 23-50437 (JTD)

 LOREM IPSUM UG, PATRICK GRUHN,
 ROBIN MATZKE, and BRANDON WILLIAMS,

                                      Defendants.

          PLAINTIFFS’ INITIAL DISCLOSURES PURSUANT TO RULE 26(a)(1)(A)

                 Pursuant to Paragraph 4 of the Case Management Plan and Scheduling Order, dated

August 23, 2023 (ECF No. 9), Rule 7026 of the Federal Rules of Bankruptcy Procedure and Rule

26(a)(1)(A) of the Federal Rules of Civil Procedure, Plaintiffs FTX Trading Ltd. and MacLaurin

Investments Ltd. (collectively, the “Plaintiffs”), through their undersigned counsel, provide the

following initial disclosures in the above-captioned actions (the “Actions”).

                                   RESERVATION OF RIGHTS

   1. These initial disclosures are made without waiving, and without prejudice to, any

          objections that Plaintiffs may have to any discovery requests, documents, testimony or

          other information on the grounds of relevance, competency, privilege, work product,

          hearsay, admissibility, or any other ground, even if related to subject matters described

          herein. Plaintiffs also reserve the right to object to any subsequent discovery request(s),

          whether or not directed to subject matters described herein.




                                                                                                        A.0005
               Case 23-50437-JTD         Doc 36        Filed 11/08/23   Page 8 of 15




    2. These initial disclosures are based upon Plaintiffs’ current knowledge and investigation to

       date, and may be incomplete or inaccurate in some respects. Discovery, fact investigation,

       and trial preparation are ongoing, and additional individuals, entities, and information

       beyond those listed here that Plaintiffs may use to support their defenses likely will be

       identified as the Actions progress. Accordingly, Plaintiffs reserve the right to supplement

       or amend these initial disclosures as appropriate under the Federal Rules of Civil Procedure

       in light of further discovery, investigation, and trial preparation.

    3. Plaintiffs reserve the right to use information to support their claims from sources identified

       in Defendants’ initial disclosures.

                                 RULE 26(a)(1) DISCLOSURES

       A.      The name and, if known, the address and telephone number of each individual
               likely to have discoverable information—along with the subjects of that
               information—that the disclosing party may use to support its claims or
               defenses, unless the use would be solely for impeachment.

               Based on Plaintiffs’ current information, the individuals identified below are

likely to have discoverable information that Plaintiffs may use to support their claims in this

action, other than for impeachment purposes. All titles of the former employees of Plaintiffs or

any FTX Group1 companies listed below reflect the most senior position of each individual.2 In


1
       Unless stated otherwise, Plaintiffs herein use the defined terms and phrases set forth in
       the Complaint filed in the above-captioned adversary proceeding on July 12, 2023 (ECF
       No. 1).
2
       Addresses and telephone numbers listed are those last known to Plaintiffs. Plaintiffs do
       not authorize communication by Defendants or anyone acting on their behalf with
       Plaintiffs’ current or former employees or consultants, and nothing herein should be
       construed to authorize Defendants or anyone acting on their behalf to contact any
       individuals where such contact would violate applicable law, abridge any rule of
       professional conduct, induce the breach of any contract, or infringe any confidentiality
       agreement. In particular, all current employees of Plaintiff identified herein should be
       contacted solely through counsel of record for Plaintiff in the Actions.


                                                 -2-
                                                                                                         A.0006
              Case 23-50437-JTD         Doc 36        Filed 11/08/23   Page 9 of 15




making these disclosures, Plaintiffs do not waive their right to object, pursuant to applicable

Federal and Local Rules, to the deposition or other testimony of any individual or entity,

including those identified herein.

               The inclusion of an individual on this list is not a statement by Plaintiffs that the

individual necessarily (a) has knowledge or discoverable documents or information that Plaintiffs

may use to support their claims, or (b) should or will be among the “custodians” whose e-mails or

other documents or information should or will be searched in connection with Plaintiffs’ responses

to Defendants’ document requests or other discovery requests in the Actions. Similarly, the

descriptions of subjects as to which the listed individuals may have knowledge or information is

not a representation that the individuals (a) actually have knowledge or discoverable documents

or information on the listed subjects, or (b) do not have knowledge or discoverable documents or

information on subjects in addition to those listed that may be relevant or that Plaintiffs may use

to support their claims in the Actions. This list does not include experts and/or consultants who

might be retained by Plaintiffs in connection with the Actions.

                                                                        Last Known Contact
            Names                            Subjects
                                                                            Information

               Current or Former Employees of Plaintiffs and their Affiliates
                           The rationale for Plaintiffs’
                           acquisition of Digital Assets DA c/o Montgomery McCraken
                           AG (“DAAG”), n/k/a FTX                Walker & Rhoads LLP
                           Europe AG; Plaintiffs’                437 Madison Avenue
Samuel Bankman-Fried
                           contemporaneous valuation of          24th Floor
Former Managing Director
                           DAAG; negotiations with               New York, NY 10022
MacLaurin Investments Ltd.
                           Defendants to acquire DAAG;           (212) 867-9500
                           Plaintiffs’ due diligence, if any, in or
Former CEO and Co-Founder
                           connection with the acquisition; 1105 North Market Street
FTX Trading Ltd.
                           DAAG’s platform, business, and 15th Floor
                           technology; Plaintiffs’ post-         Wilmington, DE 19801
                           acquisition business plans relating (302) 504-7800
                           to DAAG as a subsidiary of FTX



                                                -3-
                                                                                                       A.0007
            Case 23-50437-JTD       Doc 36     Filed 11/08/23     Page 10 of 15




                                                                    Last Known Contact
           Names                         Subjects
                                                                        Information
                             Trading Ltd.; Plaintiffs’ funding
                             of the acquisition.
                             The rationale for Plaintiffs’
                             acquisition of DAAG; drafting of
                             the legal documentation for
                             Plaintiffs’ acquisition of DAAG;
                             Plaintiffs’ contemporaneous       c/o Steptoe & Johnson LLP
                             valuation of DAAG; negotiations 1114 Avenue of the Americas
                             with Defendants to acquire        New York, NY 10036
Can Sun
Former General Counsel       DAAG; Plaintiffs’ due diligence, (212) 506-3900
                             if any, in connection with the    or
FTX Trading Ltd.
                             acquisition; DAAG’s platform, 1330 Connecticut Avenue,
                             business, and technology;         NW
                             Plaintiffs’ post-acquisition      Washington, DC 20036
                             business plans relating to DAAG (202) 429-3000
                             as a subsidiary of FTX Trading
                             Ltd.; Plaintiffs’ funding of the
                             acquisition.
                           The rationale for Plaintiffs’
                           acquisition of DAAG; drafting of
                           the legal documentation for
                           Plaintiffs’ acquisition of DAAG;
                           Plaintiffs’ contemporaneous
                           valuation of DAAG; negotiations
Daniel Friedberg           with Defendants to acquire           1133 Bigelow Avenue North
Former General Counsel and DAAG;     Plaintiffs’ due diligence, Seattle, WA
Chief Regulatory Officer   if any, in connection with the       98109
FTX Trading Ltd.           acquisition;  DAAG’s    platform,    (206) 372-8963
                           business, and technology;
                           Plaintiffs’ post-acquisition
                           business plans relating to DAAG
                           as a subsidiary of FTX Trading
                           Ltd.; Plaintiffs’ funding of the
                           acquisition.
Caroline Papadopoulos                                           c/o Covington & Burling LLP
Controller                   Plaintiffs’ contemporaneous        620 Eighth Avenue
West Realm Shires Services   valuation of DAAG.                 New York, NY 10018
Inc.                                                            (212) 841-1000
Stephenie Yuen                                                  Flat G, 36/F, Block 2
Former Senior Finance        Plaintiffs’ contemporaneous        Ocean View
Manager                      valuation of DAAG.                 1 Po Tai Street, Ma On Shan,
FTX Trading Ltd.                                                N.T., Hong Kong


                                             -4-
                                                                                               A.0008
            Case 23-50437-JTD     Doc 36     Filed 11/08/23    Page 11 of 15




                                                                  Last Known Contact
           Names                       Subjects
                                                                      Information
                                                              (852) 5431 8496
                                                              Flat 13C, York Place, 22
Jayesh Peswani             Plaintiffs’ contemporaneous        Johnston Road, Wan Chai
Financial Controller       valuation of DAAG.                 Hong Kong
FTX Trading Ltd.                                              (852) 9619 7671
                                                              jayesh@ftx.com
                           The decision to acquire K-DNA;
Mohammad Hans              DAAG’s and Plaintiffs’
Dastmaltchi                contemporaneous valuation of K-
Former Chairman of the     DNA; negotiations with
Supervisory Board of FTX   Defendants in connection with the mhd4015@gmail.com
MENA                       acquisition of K-DNA;
FTX Europe AG              Defendants’ funding of the
                           acquisition of K-DNA.
                           DAAG’s and Plaintiffs’
Nayia Ziourti              contemporaneous valuation of K-
Former General Counsel     DNA; negotiations with            nayia@ftx.com
FTX Trading Ltd.           Defendants in connection with the (357) 9940 4684
                           acquisition of K-DNA;
Former Legal Director      Defendants’ funding of the
PwC Cyprus                 acquisition of K-DNA.
                           The rationale for Plaintiffs’
                           acquisition of DAAG; drafting of
                           the legal documentation for
                           Plaintiffs’ acquisition of DAAG;
                           Plaintiffs’ contemporaneous
                           valuation of DAAG; negotiations
                           with Defendants to acquire
Jurg Bavaud                DAAG; Plaintiffs’ due diligence,
CFO                        if any, in connection with the   juerg@ftx.com
FTX Europe AG              acquisition; DAAG’s platform,
                           business, and technology;
                           Plaintiffs’ post-acquisition
                           business plans relating to DAAG
                           as a subsidiary of FTX Trading
                           Ltd.; Plaintiffs’ funding of the
                           acquisition.
                      Current or Former Employees of DAAG
Patrick Gruhn            The rationale for Plaintiffs’    c/o Morrison Cohen LLP
Co-Founder and Former    acquisition of DAAG; drafting of Heath Rosenblat
Head                     the legal documentation for      Jason Gottlieb
FTX Europe AG f/k/a DAAG Plaintiffs’ acquisition of DAAG; Joseph Moldovan


                                           -5-
                                                                                         A.0009
            Case 23-50437-JTD       Doc 36     Filed 11/08/23   Page 12 of 15




                                                                  Last Known Contact
           Names                         Subjects
                                                                      Information
                          Plaintiffs’ and Defendants’         Michael Mix
President                 contemporaneous valuation of        909 3rd Avenue
Kephas Corp.              DAAG; negotiations with             New York, New York, United
                          Defendants to acquire DAAG;         States of America 10022-9998
Co-Founder and Former     Defendants’ decisions regarding (212) 735-8600
Managing Director         the entities and intellectual
Crypto Lawyers GmbH       property that would be included in The Daley Law Firm
                          the acquisition; Plaintiffs’ due    Darrell Daley
                          diligence, if any, in connection    4845 Pearl East Circle, Suite
                          with the acquisition; DAAG’s        101
                          platform, business, and             Boulder, Colorado, United
                          technology prior to the             States of America 80301-6113
                          acquisition; Plaintiffs’ post-      (303) 479-3500
                          acquisition business plans relating
                          to DAAG as a subsidiary of FTX
                          Trading Ltd.; Plaintiffs’ funding
                          of the acquisition; the services
                          provided by Kephas to FTX
                          Europe AG; the decision to
                          acquire K-DNA; Defendants’ and
                          Plaintiffs’ contemporaneous
                          valuation of K-DNA; negotiations
                          in connection with the acquisition
                          of K-DNA; Defendants’ funding
                          of the acquisition of K-DNA.
                          The rationale for Plaintiffs’
                                                              c/o Morrison Cohen LLP
                          acquisition of DAAG; drafting of
                                                              Heath Rosenblat
                          the legal documentation for
                                                              Jason Gottlieb
                          Plaintiffs’ acquisition of DAAG;
                                                              Joseph Moldovan
                          Plaintiffs’ and Defendants’
                                                              Michael Mix
Robin Matzke              contemporaneous valuation of
                                                              909 3rd Avenue
Cofounder and Former Head DAAG; negotiations with
                                                              New York, New York, United
of Legal                  Defendants to acquire DAAG;
                                                              States of America 10022-9998
FTX Europe AG             Defendants’ decisions regarding
                                                              (212) 735-8600
                          the entities and intellectual
Managing Director and     property that would be included in
                                                              The Daley Law Firm
Shareholder               the acquisition; Plaintiffs’ due
                                                              Darrell Daley
Lorem Ipsum UG            diligence, if any, in connection
                                                              4845 Pearl East Circle, Suite
                          with the acquisition; DAAG’s
                                                              101
                          platform, business, and
                                                              Boulder, Colorado, United
                          technology prior to the
                                                              States of America 80301-6113
                          acquisition; Plaintiffs’ post-
                                                              (303) 479-3500
                          acquisition business plans relating



                                             -6-
                                                                                              A.0010
           Case 23-50437-JTD   Doc 36     Filed 11/08/23     Page 13 of 15




                                                               Last Known Contact
          Names                     Subjects
                                                                   Information
                        to DAAG as a subsidiary of FTX
                        Trading Ltd.; Plaintiffs’ funding
                        of the acquisition; the decision to
                        acquire K-DNA; Defendants’ and
                        Plaintiffs’ contemporaneous
                        valuation of K-DNA; negotiations
                        in connection with the acquisition
                        of K-DNA; Defendants’ funding
                        of the acquisition.
                        The rationale for Plaintiffs’
                        acquisition of DAAG; drafting of
                        the legal documentation for
                        Plaintiffs’ acquisition of DAAG;
                        Plaintiffs’ and Defendants’
                        contemporaneous valuation of
                        DAAG; negotiations with               c/o Gebhardt & Smith LLP
Brandon Williams        Defendants to acquire DAAG;           Lawrence Gebhardt
Former Employee and     Defendants’ decisions regarding Gregory Arbogast
Shareholder             the entities and intellectual         Jennifer Malow
FTX Europe AG           property that would be included in One South Street, Suite 2200
                        the acquisition; Plaintiffs’ due      Baltimore, Maryland, United
Managing Director       diligence, if any, in connection      States of America 21202-3281
Cosima Capital          with the acquisition; DAAG’s          (410) 752-5830
                        platform, business, and
                        technology prior to the
                        acquisition; Plaintiffs’ post-
                        acquisition business plans relating
                        to DAAG as a subsidiary of FTX
                        Trading Ltd.; Plaintiffs’ funding
                        of the acquisition.
                        The rationale for Plaintiffs’
                        acquisition of DAAG; drafting of
                        the legal documentation for
                        Plaintiffs’ acquisition of DAAG; c/o Willig Rechtsanwälte
                        Plaintiffs’ contemporaneous           Sandra Figul
Max Rhotert             valuation of DAAG; negotiations kanzlei@willig-
Former COO              with Defendants to acquire            rechtsanwaelte.com
FTX Europe AG           DAAG; Defendants’ decisions           Linda Heinemann
                        regarding the entities and            linda.heinemann@willig-
                        intellectual property that would be rechtsanwaelte.com
                        included in the acquisition;
                        Plaintiffs’ due diligence, if any, in
                        connection with the acquisition;



                                        -7-
                                                                                             A.0011
            Case 23-50437-JTD      Doc 36     Filed 11/08/23   Page 14 of 15




                                                                Last Known Contact
          Names                         Subjects
                                                                    Information
                           DAAG’s platform, business, and
                           technology prior to the
                           acquisition; Plaintiffs’ post-
                           acquisition business plans relating
                           to DAAG as a subsidiary of FTX
                           Trading Ltd.; Plaintiffs’ funding
                           of the acquisition.
                            Former Shareholders of DAAG
                           The rationale for Plaintiffs’
                           acquisition of DAAG; drafting of
                           the legal documentation for
                           Plaintiffs’ acquisition of DAAG;
                           Plaintiffs’ and Defendants’
                           contemporaneous valuation of
                           DAAG; negotiations with
                           Defendants to acquire DAAG;
Ernest Ukaj
                           Defendants’ decisions regarding
CEO and Managing Director
                           the entities and intellectual
Crypto Lawyers GmbH
                           property that would be included in eu@kglawyers.ch
                           the acquisition; Plaintiffs’ due
Former Shareholder
                           diligence, if any, in connection
FTX Europe AG
                           with the acquisition; DAAG’s
                           platform, business, and
                           technology prior to the
                           acquisition; Plaintiffs’ post-
                           acquisition business plans relating
                           to DAAG as a subsidiary of FTX
                           Trading Ltd.; Plaintiffs’ funding
                           of the acquisition.
              Current and Former Employees and Shareholders of K-DNA
                           The rationale for Defendants’
                           acquisition of K-DNA; drafting of
                           the legal documentation for
                           Defendants’ acquisition of K-
                           DNA; Defendants’
Martha Lambrianou          contemporaneous valuation of K-
CEO                        DNA; negotiations with              marthalambrianou@gmail.com
K-DNA Ltd.                 Defendants to acquire K-DNA;
                           Defendants’ due diligence, if any,
                           in connection with the acquisition;
                           K-DNA’s platform, business, and
                           technology; Defendants’ post-
                           acquisition business plans relating



                                            -8-
                                                                                            A.0012
             Case 23-50437-JTD   Doc 36     Filed 11/08/23    Page 15 of 15




                                                                Last Known Contact
           Names                      Subjects
                                                                    Information
                          to K-DNA as a subsidiary of FTX
                          Trading Ltd.; Defendants’ funding
                          of the acquisition.
                          The rationale for Defendants’
                          acquisition of K-DNA; drafting of
                          the legal documentation for
                          Defendants’ acquisition of K-
                          DNA; Defendants’
                          contemporaneous valuation of K-
                          DNA; negotiations with
Beniamino Baruh           Defendants to acquire K-DNA;
Former Shareholder        Defendants’ due diligence, if any. benjamin@suissebase.ch
K-DNA Ltd.                in connection with the acquisition;
                          K-DNA’s platform, business, and
                          technology; Defendants’ post-
                          acquisition business plans relating
                          to K-DNA as a subsidiary of FTX
                          Trading Ltd.; Defendants’ funding
                          of the acquisition.
                          The rationale for Defendants’
                          acquisition of K-DNA; drafting of
                          the legal documentation for
                          Defendants’ acquisition of K-
                          DNA; Defendants’
                          contemporaneous valuation of K-
                          DNA; negotiations with              Sofouli, 16, Chanteclair
Proverial Ltd.            Defendants to acquire K-DNA; Tower, Floor 3, Flat 303 1096,
Former Shareholder        Defendants’ due diligence, if any, Nicosia
K-DNA Ltd.                in connection with the acquisition; Cyprus
                          K-DNA’s platform, business, and
                          technology; Defendants’ post-
                          acquisition business plans relating
                          to K-DNA as a subsidiary of FTX
                          Trading Ltd.; Defendants’ funding
                          of the acquisition.
                          The rationale for Defendants’
                          acquisition of K-DNA; drafting of
Asher Afriat              the legal documentation for
Director                  Defendants’ acquisition of K-     asher@afriat.co.il
Proverial Ltd.            DNA; Defendants’
                          contemporaneous valuation of K-
                          DNA; negotiations with



                                          -9-
                                                                                         A.0013
